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United States District Court
Southern District of New York                                1:20-cv-01764-JPO
Maritza Angeles, individually and on behalf
of all others similarly situated,
                                Plaintiffs,

                  - against -                          Notice of Voluntary Dismissal

Tillamook County Creamery Association,
                                Defendant

       Plaintiff gives notice this action is voluntarily dismissed with prejudice. Fed. R. Civ. P.

41(a)(1)(A)(i).

Dated: June 18, 2020
                                                               Respectfully submitted,

                                                               Sheehan & Associates, P.C.
                                                               /s/Spencer Sheehan
                                                               Spencer Sheehan
                                                               505 Northern Blvd Ste 311
                                                               Great Neck NY 11021-5101
                                                               Tel: (516) 303-0552
                                                               Fax: (516) 234-7800
                                                               spencer@spencersheehan.com
                                                               E.D.N.Y. # SS-8533
                                                               S.D.N.Y. # SS-2056
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1:20-cv-01764-JPO
United States District Court
Southern District of New York

Maritza Angeles, individually and on behalf of all others similarly situated,

                                              Plaintiff,


                        - against -


Tillamook County Creamery Association,

                                              Defendant




                               Notice of Voluntary Dismissal


                       Sheehan & Associates, P.C.
                        505 Northern Blvd Ste 311
                         Great Neck NY 11021-5101
                            Tel: (516) 303-0552
                            Fax: (516) 234-7800


Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: June 18, 2020
                                                                          /s/ Spencer Sheehan
                                                                           Spencer Sheehan
          Case 1:20-cv-01764-JPO Document 7 Filed 06/18/20 Page 3 of 3




                                      Certificate of Service

I certify that on June 18, 2020, I served or transmitted the foregoing by the method below to the
persons or entities indicated, at their last known address of record (blank where not applicable).

                                                CM/ECF         First-Class Mail     Email
 Defendant’s Counsel                               ☒                 ☐                ☐

 Plaintiff’s Counsel                               ☒                 ☐                ☐

                                                           /s/ Spencer Sheehan
                                                           Spencer Sheehan
